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                     Exhibit 6
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             Infringement Claim Chart for U.S. Pat. No. US10237420B1 v. FLIR (“Defendant”)
      Claim 20                                                 Evidence

20. A method of         The FLIR customer service platform performs a method of processing requests.
processing requests,
comprising:             For example, the customer service platform performs a method of connecting
                        requests for assistance, made by callers, to agents that provide the assistance.




                        Source:
                        https://flir.custhelp.com/ci/fattach/get/758850/0/filename/How+to+Register+and+Cr
                        eate+Tech+Support+requests+Online.pdf




                        Source: http://support.flir.com/Service/App/getServiceLocations1.aspx?C=USA



                                                      1
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       Source: https://www.flir.com/support-center/instruments2/service/service-and-
       support/




       Source: https://flir.custhelp.com/app/answers/detail/a_id/3572/~/tech-support-phone-
       lines




       Source: https://www.flir.in/support/



                                     2
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       Source: https://flir.custhelp.com/app/answers/detail/a_id/2955/related/1/session/
       L2F2LzEvdGltZS8xNjg3MzI5NTc0L2dlbi8xNjg3MzI5NTc0L3NpZC9mVURkVklTMGlaJTdF
       SXNyMzJmNlhJOGcza1hoQU9Ia3V6c0hNdiU3RVhxeU1fUVFfOCU3RTRiY21NWXZybzlna
       WMyeEZfakFHMEtHWG9hbEkxUDdxdGtBV0ZCQVlNJTdFeHJoTU12VCU3RVRfRndXQ1Yx
       OFRxeERxSm1KYmV3eGl3JTIxJTIx




       Source: https://flir.custhelp.com/app/answers/detail/a_id/2955/related/1/session/
       L2F2LzEvdGltZS8xNjg3MzI5NTc0L2dlbi8xNjg3MzI5NTc0L3NpZC9mVURkVklTMGlaJTdF
       SXNyMzJmNlhJOGcza1hoQU9Ia3V6c0hNdiU3RVhxeU1fUVFfOCU3RTRiY21NWXZybzlna
       WMyeEZfakFHMEtHWG9hbEkxUDdxdGtBV0ZCQVlNJTdFeHJoTU12VCU3RVRfRndXQ1Yx
       OFRxeERxSm1KYmV3eGl3JTIxJTIx




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                        Source: https://www.flir.com/support-center/instruments2/service/service-and-
                        support/

estimating at least     The FLIR customer service platform estimates a content-specific or a requestor-
one content-specific    specific characteristic associated with each received request.
or requestor-specific
characteristic          For example, the customer service platform uses information provided by the caller,
associated with each    such as through interactive voice responses, and email to determine the nature of
received request;       the call.




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       Source:
       https://flir.custhelp.com/ci/fattach/get/758850/0/filename/How+to+Register+and+Cr
       eate+Tech+Support+requests+Online.pdf




       Source: https://flir.custhelp.com/app/answers/detail/a_id/3572/~/tech-support-phone-
       lines#:~:text=%2B1%20805%20392%203775




       Source:
       https://flir.custhelp.com/ci/fattach/get/758850/0/filename/How+to+Register+and+Cr
       eate+Tech+Support+requests+Online.pdf


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                      Source: https://flir.custhelp.com/app/answers/detail/a_id/5825/




                      Source: https://flir.custhelp.com/app/answers/detail/a_id/5825/

determining           The FLIR customer service platform determines the availability of multiple alternate
availability of a     target resources, each of which has a target characteristic.
plurality of
alternate target      For example, the customer service platform determines agents that are available to
resources, each       handle the call based, at least in part, on the current availability and skill set of each
respective target     agent (e.g. language).
resource having at
least one
respective target
characteristic;




                      Source: https://flir.custhelp.com/app/answers/detail/a_id/5825/


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       Source: https://flir.custhelp.com/app/answers/detail/a_id/5825/




       Source: https://flir.custhelp.com/app/answers/detail/a_id/2955/related/1/session/
       L2F2LzEvdGltZS8xNjg3MzI5NTc0L2dlbi8xNjg3MzI5NTc0L3NpZC9mVURkVklTMGlaJTdF
       SXNyMzJmNlhJOGcza1hoQU9Ia3V6c0hNdiU3RVhxeU1fUVFfOCU3RTRiY21NWXZybzlna
       WMyeEZfakFHMEtHWG9hbEkxUDdxdGtBV0ZCQVlNJTdFeHJoTU12VCU3RVRfRndXQ1Yx
       OFRxeERxSm1KYmV3eGl3JTIxJTIx




       Source: https://flir.custhelp.com/app/answers/detail/a_id/3572/~/tech-support-phone-
       lines#:~:text=%2B1%20805%20392%203775




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                          Source: https://flir.custhelp.com/app/answers/detail/a_id/3572/~/tech-support-phone-
                          lines#:~:text=%2B1%20805%20392%203775

evaluating, with at       The FLIR customer service platform evaluates, with an automated processor, multiple
least                     alternate allocations of the received request with different available targets. The
one automated proce       evaluation is done according to a ranking that is dependent on a probabilistic
ssor, a plurality of      predictive multivariate evaluator. The evaluator is based on the content-specific or
alternate allocations     requestor-specific characteristic, and the respective target characteristic of the
of the respective         multiple alternate target resources.
received request
with different            For example, the customer service platform uses the nature of the call and the
available targets,        availability and skill set of the agents to determine which possible allocation of the
according to a            call to a given agent will have the best likelihood of a positive outcome for the caller.
ranking dependent
on
a probabilistic predict
ivemultivariate evalu
ator, based on the at
least one content-
specific or requestor-
specific                  Source: https://flir.custhelp.com/app/answers/detail/a_id/5825/
characteristic, and

                                                        8
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the
respective target cha
racteristics of the
plurality of
alternate target reso
urces; and




                        Source: https://flir.custhelp.com/app/answers/detail/a_id/2955/related/1/session/
                        L2F2LzEvdGltZS8xNjg3MzI5NTc0L2dlbi8xNjg3MzI5NTc0L3NpZC9mVURkVklTMGlaJTdF
                        SXNyMzJmNlhJOGcza1hoQU9Ia3V6c0hNdiU3RVhxeU1fUVFfOCU3RTRiY21NWXZybzlna
                        WMyeEZfakFHMEtHWG9hbEkxUDdxdGtBV0ZCQVlNJTdFeHJoTU12VCU3RVRfRndXQ1Yx
                        OFRxeERxSm1KYmV3eGl3JTIxJTIx




                        Source: http://www.flirmedia.com/MMC/THG/Brochures/17-3508/17-3508_US.pdf




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                       Source: http://www.flirmedia.com/MMC/THG/Brochures/17-3508/17-3508_US.pdf

generating             The automated processor of the FLIR customer service platform generates a control
a control signal, by   signal to control the allocation of the received request with the different available
the at least           targets. Generation of the control signal is selectively dependent on the evaluation
one automated proce    result.
ssor, selectively
dependent on           For example, the customer service platform generates a control signal to connect the
the evaluating,        call with the agent who is most likely to result in a positive outcome for the caller in
to control the         view of other factors such as overall throughput of the customer service platform and
allocations of the     the priority and requirements of other concurrent calls.
respective received
request with the
different
available targets.




                       Source: https://flir.custhelp.com/app/answers/detail/a_id/5825/


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        Source: https://flir.custhelp.com/app/answers/detail/a_id/5825/




        Source: https://flir.custhelp.com/app/answers/detail/a_id/2955/related/1/session/
        L2F2LzEvdGltZS8xNjg3MzI5NTc0L2dlbi8xNjg3MzI5NTc0L3NpZC9mVURkVklTMGlaJTdF
        SXNyMzJmNlhJOGcza1hoQU9Ia3V6c0hNdiU3RVhxeU1fUVFfOCU3RTRiY21NWXZybzlna
        WMyeEZfakFHMEtHWG9hbEkxUDdxdGtBV0ZCQVlNJTdFeHJoTU12VCU3RVRfRndXQ1Yx
        OFRxeERxSm1KYmV3eGl3JTIxJTIx




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        Source: http://www.flirmedia.com/MMC/THG/Brochures/17-3508/17-3508_US.pdf




        Source: https://flir.custhelp.com/app/answers/detail/a_id/3572/~/tech-support-phone-
        lines#:~:text=%2B1%20805%20392%203775




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